                       UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                           CASE NO.3: 23-cv- 00414

HALEEM GILLILAND,

       Plaintiff,

v.

GARRY L. MCFADDEN, individually                MOTION FOR SUMMARY
and in his official capacity as Sheriff of      JUDGMENT BY GARRY
Mecklenburg County; PLATTE RIVER              MCFADDEN IN HIS OFFICIAL
INSURANCE COMPANY, a                          AND INDIVIDUAL CAPACITY,
corporation in its capacity as Surety on     KYLE HARRIS IN HIS OFFICIAL
the official bond of the Sheriff of          CAPACITY, AND PLATTE RIVER
Mecklenburg County and KYLE                     INSURANCE COMPANY
GARRETT HARRIS, individually and
in his official capacity as a Detention
Officer of Mecklenburg County

       Defendants



       Defendants Garry McFadden in his official and individual capacity, Kyle

Harris in his official capacity only, and Platte River Insurance Company move for

summary judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure

because there is no genuine issue of material fact and Defendants are entitled to

judgment as a matter of law.

       This motion is based upon the accompanying Brief, exhibits to the Brief, and

court file in this action.




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This 14th day of March, 2024.




                                s/ Sean F. Perrin
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                                McFadden




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                         CERTIFICATE OF SERVICE

       I hereby certify that on this 14th day of March, 2024, a copy of the foregoing
was filed via CM/ ECF and a copy was sent via U.S. Mail to the following non
CM/ ECF participant:

Kyle Garrett Harris
Inmate # 1693707
Warren Correctional Institution
Post Office Box 728
Norlina, NC 27563



                                       s/Sean F. Perrin




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